AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Middle District
                                                 __________       of North
                                                              District     Carolina
                                                                       of __________

                  United States of America
                             v.                                    )
                JAMES LEWIS BRYANT, JR.                            )        Case No.    1:15CR99-1
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JAMES LEWIS BRYANT, JR.                                                                            ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information        u Superseding Information             u Complaint
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Felon in possession of a firearm in violation of 18:922(g)(1)&924(a)(2).


  ***The United States Attorney requests a detention hearing.***




Date:         03/31/2015                                                                 John S. Brubaker, Clerk
                                                                                          Issuing officer’s signature

City and state:       Greensboro, NC                                                   /s/ Abby Taylor, Deputy Clerk
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title




                           Case 1:15-cr-00099-JAB Document 3 Filed 03/31/15 Page 1 of 2
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




                            Case 1:15-cr-00099-JAB Document 3 Filed 03/31/15 Page 2 of 2
